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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF MARYLAND
                                      (Baltimore Division)

    In re
                                                             Case No. 25-10308 (DER)
    Diamond Comic Distributors, Inc., et al.,
                                                             Chapter 11
                                         1
                              Debtors.
                                                             (Joint Administration Requested)



                              MOTION FOR ADMISSION PRO HAC VICE

Pursuant to Local Bankruptcy Rule 9010-3(b) and Local District Court Rule 101.1(b), Jordan D.
Rosenfeld, Esquire, a member in good standing of the bar of this Court, moves the admission of
Turner N. Falk, Esquire, to appear pro hac vice in the above-captioned bankruptcy case as
attorney for Diamond Comic Distributors, Inc., and its affiliated debtors.

Movant and the proposed admittee certify as follows:

            1.     The proposed admittee is not a member of the bar of Maryland.
            2.     The proposed admittee does not maintain a law office in Maryland.
            3.     The proposed admittee is a member in good standing of the bar of the following
                   state or United States courts:

                   State Court and Date of Admission                     U.S. Court and Date of Admission

                   Pennsylvania (2014)                                   (E.D.P.A. 2019)

                   New Jersey (2016)                                     (D.N.J. 2019)

                                                                         (3d. Cir. 2022)

            4.     During the twelve (12) months immediately preceding the filing of this motion,
                   the proposed admittee has been admitted pro hac vice in the Court 1 times.
                   Proposed admittee is not currently admitted in more than two (2) active unrelated
                   cases. 2



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      The Debtors in these chapter 11 cases along with the last four digits of the Debtors’ federal tax identification
      numbers are: Diamond Comic Distributors, Inc. (3450); Comic Holdings, Inc. (7457); Comic Exporters, Inc.
      (7458); and Diamond Select Toys & Collectibles, LLC (6585). The Debtors’ mailing address is: 10150 York
      Road, Suite 300, Hunt Valley, Maryland 21030.
2
      See Local District Court Rule 101(1)(b)(iii).


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       5.     The proposed admittee has never been disbarred, suspended, or denied admission
              to practice law in any jurisdiction. (NOTE: If the proposed admittee has been
              disbarred, suspended, or denied admission to practice law in any jurisdiction, then
              the proposed admittee must submit a statement fully explaining all relevant facts.)
       6.     The proposed admittee is familiar with the Federal Bankruptcy Rules, this Court’s
              Local Bankruptcy Rules, the Federal Rules of Evidence, and the Maryland
              Attorneys’ Rules of Professional Conduct and understands that the proposed
              admittee shall be subject to the disciplinary jurisdiction of this Court.
       7.     Co-counsel for the proposed admittee in this bankruptcy case will be the
              undersigned who has been formally admitted to the bar of the U.S. District Court
              for the District of Maryland.
       8.     It is understood that admission pro hac vice does not constitute formal admission
              to the bar of the U.S. District Court for the District of Maryland.
       9.     Movant or the proposed admittee has electronically paid the $100.00 fee for
              admission pro hac vice through CM/ECF or encloses a check or money order in
              the amount of $100.00 payable to “Clerk of Court, United States Bankruptcy
              Court.”
       10.    We hereby certify under penalty of perjury that the foregoing statements are true
              and correct.


/s/ Jordan D. Rosenfeld                            /s/ Turner N. Falk
Jordan D. Rosenfeld, Esquire                       Turner N. Falk, Esquire
13694                                              Saul Ewing LLP
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1001 Fleet Street, 9th Floor                       Philadelphia, PA 19102
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(410) 332-8600                                     turner.falk@saul.com
jordan.rosenfeld@saul.com                          Proposed Admittee
Movant




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                               CERTIFICATE OF SERVICE

I hereby certify that, on the 15th day of January, 2025, I reviewed the Court’s CM/ECF system
and it reports that an electronic copy of the Motion for Admission Pro Hac Vice will be served
electronically by the Court’s CM/ECF system on the following:

       Hugh M. Bernstein
       Attorney for U.S. Trustee
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                                            /s/ Jordan D. Rosenfeld
                                            Jordan D. Rosenfeld




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